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 7
                                   UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                         Case No. 2:08-CR-0427 MCE
11
                    Plaintiff,                         STIPULATION REGARDING SPECIAL SET
12                                                     CALENDAR FOR SENTENCING OF
            v.                                         DEFENDANT RAMANATHAN PRAKASH ;
13                                                     ORDER THEREON
     RAMANATHAN PRAKASH,
14
                    Defendant.
15

16

17          IT IS HEREBY stipulated between the United States of America through its undersigned
18   counsel, Jean M. Hobler, Assistant United States Attorney, and counsel for defendant
19   Ramanathan Prakash, Alan Ellis, that as the Court’s calendar permits, the sentencing of defendant
20   Ramanathan Prakash be specially set on July 12, 2012, to permit the introduction of evidence by
21   the parties. The Government anticipates presenting audio excerpts from recordings of telephone
22   conversations involving defendant Prakash during his incarceration in the Sacramento County
23   Jail, and possibly the testimony of Special Agent Heather Sowa, HHS-OIG, regarding her
24   analysis of the financial records provided by Prakash.1 Defendant Prakash anticipates calling
25   attorney Jeffrey Helfer to the stand to discuss Prakash’s financial situation, and anticipates up to
26   three additional character witnesses and witnesses to address statements made in the jail tapes.
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            1
               To the extent practicable, the Government will endeavor to do this by way of declaration
28   rather than live testimony.

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 1                   The parties estimate that all evidence and argument should be accomplished within three
 2   hours. The parties jointly request the matter be special set consistent with the Court’s schedule
 3   and analysis of the time necessary to accomplish sentencing.
 4                   IT IS SO STIPULATED.
 5
     Dated: June 8, 2012                                     BENJAMIN B. WAGNER
 6                                                           United States Attorney
 7
                                                            By: /s/ Jean M. Hobler
 8                                                             JEAN M. HOBLER
                                                               Assistant U.S. Attorney
 9
10
     Dated: June 8, 2012
11

12                                                          By: /s/ Jean M. Hobler for
13                                                             ALAN ELLIS
                                                               Counsel for Defendant
14                                                             RAMANATHAN PRAKASH
                                                               (as authorized on June 8, 2012)
15

16
                                                         ORDER
17
                     In accordance with the parties’ stipulation, the sentencing for defendant Ramanathan
18
     Prakash shall be specially set for July 12, 2012, at 11:00 a.m.
19
                     IT IS SO ORDERED.
20

21
     Dated: June 19, 2012
22
                                                      __________________________________
23                                                    MORRISON C. ENGLAND, JR
                                                      UNITED STATES DISTRICT JUDGE
24

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     DEAC_Sign




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